                       lN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF OREGON



 WILSON L. CLOW, JR.,

                                          Plaintiff,
                                                          Civil No. 05-3034-CO
    v.
                                                          ORDER
 FIRE MOUNTAIN GEMS,

                                        Defendant.



         Magistrate Judge Cooney filed his Findings and Recommendation on April 29,2005.

The matter is now before me.    See 28 U.S.C. fj 636(b)(l)(B) and Fed. R. Civ. P. 72(b).   No

objections have been timely filed. This relieves me of my obligation to give the factual

findings de novo review. Lorin Corn. v. Goto & Co., Ltd., 700 F.2d 1202, 1206 (9th Cir.

1982). See also Britt v. Simi Valley Unified School Dist., 708 F.2d 452, 454 (9th Cir. 1983).

Having reviewed the legal principles de novo, I find no error.

         THEREFORE, IT IS HEREBY ORDERED that, I adopt Judge Cooney's Findings and

Recommendation.

         Dated this & d a y    of May, 2005.


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                                          Ann Aiken, United States District Judge


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